     Case 1:03-cr-00041-MP-AK          Document 516        Filed 11/30/05       Page 1 of 1


                                                                                         Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:03-cr-00041-MP-AK

CLINTON A. FORD,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 514, Defendant's Motion to Continue his

sentencing hearing currently scheduled for Thursday, December 1, 2005. In support of his

motion, Ford states that another defendant, Myron Stevenson, is attempting to withdraw his plea.

If successful, Ford would have to testify against Stevenson at trial. The Government does not

oppose the continuance. Accordingly, Defendant's motion is granted. Defendant Ford's

sentencing hearing is rescheduled for Friday, December 9, 2005, at 11:00 a.m.

       DONE AND ORDERED this            30th day of November, 2005


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
